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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

    PATRICK NATHANIEL REED,

         PLAINTIFF,

    v.                                               CASE NO. 3:22-cv-1181-TJC-PDB

    SHANE RYAN; et al.,

       DEFENDANTS.
    _______________________________/

     DEFENDANTS THE ASSOCIATED PRESS’ AND DOUG FERGUSON’S
     CORRECTED1 MOTION TO DISMISS AMENDED COMPLAINT WITH
               SUPPORTING MEMORANDUM OF LAW

          Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants The

Associated Press (“AP”) and Doug Ferguson (collectively, the “AP Defendants”)

move to dismiss all counts of the Amended Complaint against them. The 93-page

complaint purports to state claims for defamation, defamation per se, defamation by

implication, and tortious interference. In every instance, Plaintiff Patrick Nathaniel

Reed (“Reed” or “Plaintiff”) fails to plead a claim as a matter of law. Specific grounds

for this motion are included in the Memorandum of Law. Most fundamentally, all

claims are time barred. Moreover, the column at issue lacks defamatory meaning, is

pure opinion, was published without knowing falsity or reckless disregard for the truth,




1
 This corrected motion is filed to remove a drafting error in the title of the Motion (D.E. 35), which
was improperly styled as a motion seeking fees – relief that the AP Defendants do not seek. No other
changes have been made to the Motion.
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and the tortious interference claims violate the single action rule prohibiting end runs

around defamation defenses.

                                MEMORANDUM OF LAW

                                           Introduction

       Reed’s baseless claims raised in the Amended Compliant2 rest on a February

2021 piece, entitled Column: Reed’s reputation from Bahamas the ultimate penalty (the

“Column”). The Column explores the impact that Reed’s reputation for cheating in

the eyes of the public has had on his career. As a threshold matter, Reed’s claims are

time barred under the applicable one-year limitations period. Further, the Column,

taken as a whole, does not convey the defamatory meaning alleged by Reed – i.e., that

he is a “habitual cheater” – and is otherwise full of protected opinion for statements

that cannot be proven true or false. Finally, Reed cannot plead the heightened standard

of actual malice demanded of public figures.

       His tortious interference claims are also barred because they are based on the

same facts that give rise to the defamation claims. They, too, fail as a matter of law.


2
  On December 13, 2022, this Court sua sponte dismissed without prejudice Plaintiff’s original
complaint (D.E. 1) for being a shotgun pleading. (D.E. 25). The Court held that, at “[n]inety-two
pages and forty-two counts . . . , Reed’s Complaint is neither short nor plain.” Id. Yet the excessive
Amended Complaint – spanning 93 pages, 398 paragraphs, ten parties, and 36 claims – fares no better.
For instance, the Court’s dismissal Order instructed Reed “to incorporate into each count only the
factual allegations that are relevant to the respective causes of action.” (D.E. 25). The Amended
Complaint not only fails to comply, but now also fails to incorporate any factual allegations into any
count. Pleading deficiencies have repeatedly been an issue for opposing counsel. See Klayman v. CNN,
No. 22-12480, 2023 WL 2027843 (11th Cir. Feb. 16, 2023) (affirming dismissal of opposing counsel’s
defamation claims against media defendant on the ground that the complaint was a shotgun pleading);
Reed v. Chamblee, No. 3:22-cv-1059-TJC-PDB (M.D. Fla. Nov. 18, 2022) (order dismissing Reed’s
complaint against various media defendants for being a shotgun pleading that is “neither short nor
plain”).


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       As the Eleventh Circuit has cautioned, courts must carefully examine legal

claims that restrict First Amendment activity because “there is a powerful interest in

ensuring that free speech is not unduly burdened by the necessity of defending against

expensive yet groundless litigation.” Michel v. NYP Holdings, Inc., 816 F.3d 686, 702

(11th Cir. 2016); see also § 768.295, Fla. Stat. (Florida’s “anti-SLAPP” statute, which

similarly seeks to protect speech from meritless litigation). Accordingly, the AP

Defendants request the Court dismiss the claims against them with prejudice.3

                                       BACKGROUND

       Reed acknowledges his public figure status in describing himself as a

“professional golfer” of “exceptional world-class golfing achievements.” Am. Compl.

¶¶ 19-20. Despite his accomplishments, however, Reed has long been plagued with

accusations of cheating. See, e.g., Am. Compl. ¶¶ 37-38 (describing accusations of

cheating dating as far back as 2015). The Column explores the impact the public

perception of Reed as a cheater has had on Reed’s career, particularly after Reed’s

performance at a Bahamas tournament where he was penalized. The Column observes

Reed would have a “hard time living down that incident,” and “[m]oving past this

[new] one will be almost impossible.” See a true and correct copy of the Column

attached as Exhibit A.4 In short, the Column does what columns do; it delves into


3
 State substantive law applies in this diversity action. See Davis v. McKenzie, No. 16-62499-CIV-
COHN/SELTZER, 2017 WL 8809359, at *11 (S.D. Fla. Nov. 3, 2017); adopted in full by Davis v.
McKenzie, No 16-62499-CIV-COHN/SELTZER, 2018 WL 1813897 (S.D. Fla. Jan. 19, 2018).
4
 Although the Court’s review of a motion to dismiss is generally limited to the “four corners” of the
pleading, a court can consider documents integral to the complaint’s allegations without the motion
being converted into a summary judgment motion. See Horsley v. Feldt, 304 F.3d 1125, 1134-35 (11th

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possible impacts and explores effects.

       The Column first describes a well-known incident that occurred at the 2019

Hero World Challenge in the Bahamas, where Reed was assessed a two-stroke penalty

for “improving his line of play” by “us[ing] the back of his wedge to scoop away sand

– twice – from behind his golf ball in a waste bunker.” (the “Bahamas Event”). See Ex.

A; see also Am. Compl. ¶¶ 78-79 (similarly describing the Bahamas Event). The

Column posits that the real impact on Reed, however, was not the technical penalty

but the reputational hit in the eyes of the public that came with it. The Column notes

that Reed’s behavior has haunted him ever since the Bahamas Event.

       For example, in Hawaii, fans shouted, “CHEATER!” See Ex. A. In 2021, at the

Farmers Insurance Open at Torrey Pines in San Diego, Reed claimed embedded ball

relief (the “California Event”), and another fan firestorm ensued on social media. See

id. Rather than take a side, however, the Column expressly notes that “[t]he procedure

Reed followed wasn’t illegal,” and that PGA officials confirmed Reed did “nothing

wrong.” Id.

       Ignoring the Column’s actual content, Reed contends that “[t]he entire purpose

of the [Column] is to plant in the reader’s mind that . . . Mr. Reed is a habitual cheater.”



Cir. 2002) (court could consider news article forming basis of defamation claim without converting
the same to motion for summary judgment); Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005) (“[A]
document need not be physically attached to a pleading to be incorporated by reference into it….”);
Brooks v. Blue Cross & Blue Shield of Fla., 116 F.3d 1364, 1369 (11th Cir. 1997) (“where the plaintiff
refers to certain documents in the complaint and those documents are central to the plaintiff’s claim,
then the Court may consider the documents part of the pleadings for purposes of motion to dismiss).
The Court can consider the Column.


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Am. Compl. ¶ 106. Here are the actual words from the Column, with the portions

Reed complains about in bold (see id. at ¶ 61):

       The violation was so egregious that Rickie Fowler, glancing at the replay on
       television, quickly raised his eyebrows and said: “Whoa! What was THAT?”

       It was Patrick Reed.

       This was just over a year ago in the Bahamas, the day Reed infamously used
       the back of his wedge to scoop away sand — twice — from behind his golf
       ball in a waste bunker, improving his line of play. Only when he was shown
       video evidence5 did Reed accept the two-shot penalty, but not before suggesting
       the camera angle made it look worse than it was.

       The penalty, as it turns out, was worth more than two shots.

       There is no greater punishment in golf than being stuck with a reputation for
       cheating.

       Reed was always going to have a hard time living down that incident.

       It followed him to Australia, where the fans were so abusive his caddie got into
       it with a spectator and was replaced for the final day of the Presidents Cup. It
       stayed with him in the chill environment of Kapalua, where a spectator yelled
       “CHEATER!” after Reed hit a putt in a playoff. A few weeks later in San
       Diego, Reed asked police to remove hecklers.

       The verbal abuse was silenced by golf not having fans because of the pandemic.

       And then more outrage involving Reed, fueled mightily by social media,
       arrived during an otherwise idyllic Saturday afternoon at Torrey Pines.

       Moving past this one will be almost impossible.

       As far as the PGA Tour is concerned, Reed did nothing wrong on the 10th hole
       of the third round at the Farmers Insurance Open. And according to the Rules

5
  The Column hyperlinks the words “video evidence” to a December 6, 2019 video titled “Patrick
Reed’s two-stroke penalty at Hero World Challenge 2019,” posted on the PGA Tour’s official
YouTube channel at https://www.youtube.com/watch?v=sM7UJrsUr5g&ab_channel=PGA
TOUR. See Ex. A. The video shows the Bahamas Event as well as subsequent commentary and
interviews with Reed about the incident. The Court may again consider its contents. See supra note 3;
see also Am. Compl. ¶ 78 (admitting that the video shows an “unintentional error by Mr. Reed”).


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       of Golf, which relies on facts over reputation, the tour was right.

       “He operated the way the rules permit him to operate,” said John Mutch, the
       tour’s senior tournament director.

       This was about optics. Mostly, it was about Reed.

       He pulled his approach from a fairway bunker into thick grass left of the 10th
       green. Approaching where a volunteer had marked the spot with a tiny flag,
       Reed asked if the ball bounced. “No, I didn’t see it bounce,” the volunteered
       replied.

       He turned to his playing partners, PGA Tour rookie Will Gordon and
       second-year player Robby Shelton, and told them, “They said it didn’t
       bounce,” and that he would check for an embedded lie. Crouching over, he
       marked the spot with a tee, put the ball in the palm of his hand and kept
       probing the turf for about 5 seconds when he called for an official. And then
       he poked around for another five seconds.

       “I believe it broke ground, but I’m going to let you make that call,” Reed
       told Brad Fabel, the rules official. Fabel didn’t immediately know what he
       was talking about because Reed had placed the ball about 8 feet away. Reed
       showed him where the ball was, Fabel poked around and agreed there was a
       “lip,” meaning the ball had broken the plane of the soil.

       Free drop.

       The procedure6 Reed followed wasn’t illegal. It wasn’t even necessary for him
       to call for an official. Rory McIlroy didn’t ask for a ruling when the same thing
       happened on the 18th hole that day. And according to McIlroy, Rory Sabbatini
       also took relief from an embedded ball on the 15th hole Saturday.

       The rule (16-3) allows players to proceed as if the ball is embedded provided it
       is “reasonable to conclude” based on the information at hand.

Id. at ¶¶ 109-112.



6
 The Column hyperlinks the word “procedure” to a January 31, 2021 video titled “McIlroy, Reed
embedded golf ball rulings at Farmers Insurance Open,” posted on the PGA Tour’s official YouTube
channel at https://www.youtube.com/watch?v=E9BoqR5rP_w&ab_channel=PGATOUR. See Ex.
A. The video shows the California Event.


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        Reed brought a similar defamation suit against other defendants in the Southern

District of Texas on August 16, 2022 (the “Texas Suit”).7 In that case, Reed

complained about publications describing the same incidents from the Bahamas and

California tournaments discussed in the Column. See Ex. B ¶¶ 52-60. This is important

because Reed also claimed in the Texas Suit that “a substantial part of the[se] events .

. . giving rise to [his] claim occurred” in the Southern District of Texas. Id. at ¶ 2. The

operative complaint here admits Reed’s Texas citizenship but also highlights the suit’s

connection to New York, noting that the four corporate defendants, including AP, are

headquartered in New York. See Am. Compl. ¶¶ 8, 10, 12, 14, and 16. The alleged

connections to Florida are anemic at best.

                                            The Counts

        Counts XXI-XXIII against Defendant Ferguson and virtually identical Counts

XXV-XXVII against AP (labeled “defamation,” “defamation by implication,” and

“defamation per se”) are based on the Column. See Am. Compl. ¶¶ 106, 273-297, 303-

327.

        Counts XXIV (Ferguson) and XXVIII (AP) are claims for tortious interference

premised again on the Column. Id. at ¶¶ 298-302, 328-332. They similarly claim the



7
  See Exhibit B, which provides a true and correct copy of Reed’s pleading in the Southern District of
Texas, which may be considered by the Court without converting the motion into one for summary
judgment. The Texas Suit is central to the allegations here (and its authenticity is not in dispute). See
Nix v. ESPN, Inc., 1:18-CV-22208, 2018 WL 8802885, at *6 (S.D. Fla. Aug. 30, 2018). Reed voluntarily
dismissed the Texas Suit and re-filed it in this Court – adding a few defendants and allegations on
September 28, 2022. See Reed v. Chamblee, et al., Case No. 3-22-CV-01059-TJC-PDB (M.D. Fla.).


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AP Defendants damaged Reed’s business relationships by “spreading lies of and

concerning Mr. Reed in order to destroy his reputation.” Id. at ¶¶ 301,331.

       Each count must be dismissed as a matter of law.

                                 LEGAL ARGUMENT

       On a motion to dismiss a complaint for failure to state a claim, a court “must

accept the allegations of the complaint as true and must construe the facts alleged in

the light most favorable to the plaintiff.” Hunnings v. Texaco, Inc., 29 F.3d 1480, 1484

(11th Cir. 1994). “However, conclusory allegations, unwarranted factual deductions

or legal conclusions masquerading as facts will not prevent dismissal.” Davila v. Delta

Air Lines, Inc., 326 F.3d 1183, 1185 (11th Cir. 2003) (citation omitted). Plaintiffs

cannot simply regurgitate labels, conclusions, and “a formulaic recitation of the

elements of a cause of action.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

The touchstone is that “to survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to state a claim to relief that is plausible on

its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

       As the Eleventh Circuit has noted, testing a complaint against the plausibility

standard is critical in public figure defamation suits, like this one:

       [T]here is a powerful interest in ensuring that free speech is not unduly
       burdened by the necessity of defending against expensive yet groundless
       litigation. Indeed, the actual malice standard was designed to allow publishers
       the “breathing space” needed to ensure robust reporting on public figures and
       events. [New York Times v.] Sullivan, 376 U.S. [254,] 271-72 [(1964)] . . . .
       Forcing publishers to defend inappropriate suits through expensive discovery
       proceedings in all cases would constrict that breathing space in exactly the
       manner the actual malice standard was intended to prevent. The costs and
       efforts required to defend a lawsuit through that stage of litigation could chill

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          free speech nearly as effectively as the absence of the actual malice standard
          altogether.

Michel v. NYP Holdings, Inc., 816 F.3d 686, 702 (11th Cir. 2016).

          The Michel warnings apply here. Plaintiff will undoubtedly seek substantial

discovery in the empty hope of proving the wild allegations he and his counsel have

concocted out of nothing more than the AP Defendants’ publication of commentary

about well-known controversies surrounding a professional golfer. Michel makes clear

that this Court plays a critical gatekeeper role in blocking such assaults on free speech.

Plaintiff’s ridiculously speculative pleading should be dismissed now.

I.        Florida’s Borrowing Statute Bars All Defamation Claims

          All of Plaintiff’s claims against the AP Defendants should be dismissed because

Florida’s “borrowing statute” requires this Court to apply New York’s or Texas’s one-

year statute of limitations for defamation claims. See N.Y. C.P.L.R. 215(3); TX CIV.

PRAC. & REM. § 16.002(a).8 As the Amended Complaint acknowledges, the Column

was published on February 2, 2021. See Am. Compl. ¶ 105. Plaintiff had to sue by early

February 2022, but he did not file until nine months later, on November 1, 2022 (D.E.

1). Plaintiff cannot use Florida’s two-year limitation period to save his claims.

          Florida’s borrowing statute provides that “[w]hen the cause of action arose in

another state or territory of the United States, or in a foreign country, and its laws

forbid the maintenance of the action because of lapse of time, no action shall be



8
    In contrast, Florida has a two-year statute of limitations. See Fla. Stat. § 95.11(4)(g) (2022).


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 maintained in the state.” Fla. Stat. § 95.10. “[T]he statute bars actions brought in

 Florida which arise outside the State of Florida and which are time-barred in the

 jurisdiction in which the cause of action arose.” Bates v. Cook, 509 So. 2d 1112, 1113

 (Fla. 1987); see also Digioia v. H. Koch & Sons, Div. of Wickes Mfg. Co., 944 F. 2d 809,

 812 (11th Cir. 1991). “The purpose of the statute is to discourage ‘forum shopping’

 and the filing of lawsuits in Florida that have already been barred in the jurisdiction

 where the cause of action arose.” Celotex Corp. v. Meehan, 523 So. 2d 141, 143 (Fla.

 1988); see also Jaisinghani v. Capital Cities/ABC, Inc., 973 F. Supp. 1450, 1452 (S.D. Fla.

 1997). The issue of where a cause of action arose is a question of law for the Court to

 decide. See Jaisinghani, 973 F. Supp. At 1452.

        To decide where a tort cause of action arose, the Florida Supreme Court

 adopted the “significant relationship” test. See Celotex, 523 So. 2d at 144; Bates, 509

 So. 2d at 1114-15 (finding test applies in analyzing statute of limitations periods for all

 torts). “Under this test, the cause of action arises in the state with the most significant

 relationship to the parties and the tortious act or occurrence.” Jaisinghani, 973 F. Supp.

 at 1452. The test balances four factors: (1) the place where the injury occurred; (2) the

 place where the conduct causing the injury occurred; (3) the domicil[e], residence,

 nationality, place of incorporation, and place of business of the parties, and (4) the

 place where the relationship, if any, between the parties is centered. See Celotex, 523

 So. 2d at 144 (citation omitted). No one factor dominates; instead, the test requires

 courts to “weigh the totality of the circumstances.” Jaisinghani, 973 F. Supp. at 1454.

 As explained below, either New York’s or Texas’s limitations period governs
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 Plaintiffs’ defamation claims. Virtually nothing occurred in Florida. The complaint

 discusses events in in the Bahamas and California (see Ex. A), repeated by news

 organizations headquartered in New York (see Am. Compl. ¶¶ 10, 12, 14, 16) about a

 Texas plaintiff (see Am. Compl. ¶ 8) – all jurisdictions with one-year defamation

 periods. N.Y. C.P.L.R. 215(3); TX CIV. PRAC. & REM. § 16.002(a); CAL. CIV.

 PROC. CODE § 340(c).

    A. The Alleged Injury Occurred in New York or Texas

       First, the location of alleged injury is primarily in New York or Texas. The

 Amended Complaint does not allege that the Column, published in February 2021,

 caused injury in Florida. The Column was not published from Florida, but rather by

 AP, which is headquartered in New York. Am Compl. ¶¶ 12, 105, n.7. Further, any

 alleged injury would have otherwise occurred in Texas, where Reed lives and is a

 citizen, and where he sued other defendants in similar litigation claiming injury in

 Texas. See Am. Compl. ¶ 8; Ex. B, ¶ 2. See also Nix v. ESPN, Inc., 1:18-CV-22208, 2018

 WL 8802885, at *4 (S.D. Fla. Aug. 30, 2018) (finding that the similar choice of law

 factor favored applying New York law rather than Florida law because the complaint

 cited to “no specific instances of harm within Florida,” and any harm felt by the

 plaintiff would have been in New York); Lamphier v. Knight–Ridder Newspapers, 12

 Med. L. Rep. 2154, 2156 (S.D. Fla. 1986) (applying former place of injury rule and

 finding Florida’s borrowing statute barred plaintiff’s libel action under California’s

 one-year statute of limitations because alleged damages occurred in the location of

 “Plaintiff’s place of residence and business”).
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       B. The Allegedly Defamatory Conduct Did Not Occur in Florida

            The second factor, where the conduct allegedly causing the injury occurred, also

 favors New York or Texas. Although the Column is available worldwide, it was not

 published from Florida, as it originated from AP headquarters in New York, where

 AP’s ultimate publication decisions originate. See Nix, 2018 WL 8802885, at *4

 (finding the similar choice of laws factor weighed in favor of applying New York law

 because “the decision to publish . . . was made by Defendant AP in New York”). The

 Column never mentions Florida. See Ex. A. Thus, none of the allegedly defamatory

 conduct centers on Florida.

            In fact, in the Texas Suit, Reed alleged that other members of the media had “a

 long history of targeting Mr. Reed with their defamatory attacks,” and used reporting

 on the Bahamas and California events as “prominent example[s]’” of this. See Ex. B.

 ¶¶ 52-60. He claimed that “a substantial part of the events or omissions giving rise to

 Plaintiff’s claim” in that case, stemming from, inter alia, the Bahama and California

 events (also pled here), occurred in the Southern District of Texas. See Ex. B ¶¶ 2, 52-

 60.

       C.    The Parties are Located in Multiple States

            The third factor, the domicile, residence, nationality, place of incorporation and

 place of business of the parties, also counsels against Florida. Even though Defendant

 Ferguson is a citizen of Florida, this alone does not end the inquiry. Neither AP nor

 any of the other publishing defendants in this matter are citizens of Florida. Am.

 Compl. ¶¶ 10 (Hachette, Delaware/New York), 12 (AP, New York), 13 (Fox Sports,
                                                12
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 Delaware/California), 14 (New York Post, Delaware/New York), and 16

 (Bloomberg, Delaware/New York). And Reed is a citizen of Texas who alleges that

 he also owns a second house in Florida. Id. at ¶ 8. See also Jaisinghani, 973 F. Supp. at

 1453–54 (finding, where the plaintiff had residences in both California and Florida,

 that the tort arose in California because the plaintiff’s connections with California were

 stronger).

     D. The Parties’ Relationship Was Not Centered in Florida

         The final factor, the relationship between the parties, is not particularly

 instructive here as there is no relationship between Reed and the AP Defendants. The

 Column discusses events in the Bahamas, Australia, Hawaii, and California, but

 nothing about Florida. Plaintiff instead struggles to fabricate a connection centered in

 the state with his sweeping conclusion that Florida is “the golf capital of the United

 States, if not the world,” (Am. Compl. ¶ 56) primarily because “Defendant PGA Tour

 is located in this judicial district.” Am. Compl. ¶ 2. But, of course, PGA Tour is not a

 defendant in this case, and its presence in the state has no bearing on the actual parties’

 relationship.9 See Digioia, 944 F. 2d at 813 (in applying Florida’s borrowing statute, the

 location of a non-party “has little impact on the determination of which state . . . has

 an interest in the litigation”).


 9
   Plaintiff’s baseless allegations that “Defendants have conspired . . . for and with the PGA Tour” (see
 Am. Compl. ¶21) are also disingenuous and superfluous. Indeed, Plaintiff dropped all his initial
 conspiracy claims after this Court instructed him “to bring only those claims that are supported in
 law.” (D.E. 25); compare D.E. 1 with Am. Compl. As such, Plaintiff cannot use the PGA Tour’s
 location as the crux of his argument that Reed’s relationship with the AP Defendants was centered in
 Florida.


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         Weighing the totality of circumstances, it is clear Florida’s relationship with the

 Column is non-existent, and in any event not as significant as New York’s or Texas’s.

 Indeed, Florida does not bear any relationship—much less the most significant

 relationship—to the Column. The state bearing the most significant relationship to the

 alleged tort is New York, where AP’s decision to publish the Column was made and

 most of the defendants are headquartered or, alternatively, Texas, where Reed is a

 citizen. Plaintiff seems to be engaged in the very thing Florida’s borrowing statute

 prevents: forum shopping. See Jaisinghani, 973 F. Supp. at 1455; Klayman, 2008 WL

 11333055, at *5 (“[Applying District of Columbia law] is consistent with Mr.

 Klayman’s initial filing of his § 540.08 claim in the D.C. action and his allegation that

 such a claim was properly brought in that jurisdiction. Mr. Klayman appears to be

 engaged in the very thing that Florida’s borrowing statute was designed to prevent:

 forum shopping”) (citation omitted).

         Pursuant to N.Y. C.P.L.R. 215(3) or TX CIV. PRAC. & REM. § 16.002(a), the

 last day Reed could sue for defamation about the Column was February 1, 2022.

 Because Reed did not file this case for another nine months, the claims as to the

 Column are time-barred and should be dismissed with prejudice.

 II.     The Defamation Claims Fail Under Substantive Defamation Law Too

       A. Elements of Defamation

         While the defamation claims should be dismissed as time barred under New

 York or Texas law, the application of Florida substantive defamation law requires the

 same result. See Turner v. Wells, 879 F.3d 1254, 1262-63 (11th Cir. 2018). To state a
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 defamation claim, Plaintiffs must set forth facts that would prove: (1) publication; (2)

 falsity; (3) the requisite degree of fault; (4) actual damages; and (5) defamatory

 meaning.      Turner, 879 F.3d at 1262 (citation omitted). Under Florida law, the

 Amended Complaint is doomed.10

      B. Lack of Defamatory Meaning

        To be actionable a statement must be defamatory. That is, it must be a

 statement that would expose one to hatred, ridicule, or disgust. See Forston v. Colangelo,

 434 F. Supp. 2d 1369, 1378, n. 11 (S.D. Fla. 2006); Seropian v. Forman, 652 So. 2d 490,

 495 (Fla. 4th DCA 1995). And it is for this Court in the first instance to decide whether

 a publication is even capable of a defamatory meaning. See Rubin v. U.S. News & World

 Rep., Inc., 271 F.3d 1305, 1306–08 (11th Cir. 2001) (affirming dismissal of defamation

 by implication claim because no reasonable reader would have concluded that

 plaintiff, who owned a gold refining business, knowingly handled illegal gold or

 himself kept two sets of books simply because he was quoted as conceding that such

 activity happened in the industry). Plaintiffs cannot simply cherry pick; the alleged

 defamatory statements must be read in the context of the entire article. See Turner, 879


 10
    Reed purports to allege separate claims for defamation, defamation per se, and defamation by
 implication. With respect to defamation by implication, Plaintiff does not allege how any of the
 statements were actually true but convey a false and defamatory implication, dooming this theory. See
 Jews for Jesus, 997 So. 2d at 1106 (defamation by implication is based on true statements used to imply
 a defamatory meaning). Even had he alleged a proper implication claim, “all of the protections of
 defamation law” apply. See id. at 1108 & n.13. Reed’s defamation per se claim also fails as a matter of
 law because Florida law does not provide such a cause of action where damages are presumed against
 a publisher; rather, “a plaintiff suing a media defendant must nevertheless plead and prove actual
 injury” like any other defamation claim. Edelstein v. WFTV, Inc., 798 So. 2d 797, 798 (Fla. 4th DCA
 2001).


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 F.3d at 1270 (“Like the district court, we are ‘hard-pressed to discern what arguably

 defamatory statement could reasonably flow from the facts about the [player] fine

 system or the Judas concept’ when considering the Report’s actual text.”); Byrd v.

 Hustler Magazine, Inc., 433 So. 2d 593, 595 (Fla. 4th DCA 1983) (allegedly defamatory

 publication must be considered in total and isolated statements must be evaluated

 within the context of entire piece). Where a plaintiff’s reading is strained, a “court has

 a ‘prominent function’ in determining whether a statement is defamatory, and if a

 statement is not capable of a defamatory meaning, it should not be submitted to a

 jury.” Smith v. Cuban Am. Nat’l Found., 731 So. 2d 702, 704 (Fla. 3d DCA 1999)

 (citations omitted).

       To decide whether a statement is capable of a defamatory meaning, courts must

 take an objective approach and “evaluate the publication, not by extremes, but as the

 common mind would naturally understand it.” Byrd, 433 So. 2d at 595 (finding that

 re-touched photograph resulting in subject making obscene gesture could not, in light

 of caption making clear photograph was altered, be viewed as implying subject posed

 that way) (quotation omitted). See also Valentine v. C.B.S., Inc., 698 F.2d 430, 431–32

 (11th Cir. 1983) (plaintiff’s claim that song lyrics implied she was part of conspiracy

 to convict individual not reasonable as no lyrics mentioning her related to the

 conspiracy and noting “[a] review of the entire song makes it clear this interpretation

 is not reasonably possible . . . plaintiff’s interpretation does not construe the words as

 the common mind would understand them but is tortured and extreme.”).



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       Here, Plaintiff alleges that the Column “plant[s] in the reader’s mind that . . .

 Mr. Reed is a habitual cheater . . . who has gotten away with cheating.” Am. Compl.

 ¶ 106. But Plaintiff’s assigned defamatory meaning is expressly refuted by the Column

 itself. Indeed, with respect to the Bahamas Event, the Column accurately describes

 that Reed “accept[ed] the two-shot penalty” for “using the back of his wedge to scoop

 away sand – twice – from behind his golf ball in a waste bunker, improving his line of

 play” – a fact which the Amended Complaint concedes. See Ex. A; Am. Compl. ¶ 101.

 The Column also includes Reed’s explanation that the “camera angle” of the “video

 evidence” of the incident “made it look worse than it was.” Ex. A. Further, regarding

 the California Event where Reed sought embedded ball relief, the Column goes to

 great lengths to make it clear that “Reed did nothing wrong . . . at the Farmers

 Insurance Open.” Id. The Column also describes how the PGA Tour confirmed

 “procedure Reed followed wasn’t illegal,” and notes “[i]t wasn’t even necessary for

 him to call for an official.” Id. This directly contradicts Reed’s allegations that the

 statements in the Columns about these events make him out to be a “habitual cheater”

 who gets away with things. In other words, the defamation claim cannot survive

 because the alleged defamatory meaning is expressly contradicted by the actual text of

 the Column itself.

    C. Statements of Opinion are Not Actionable

       Much of the Column is protected opinion. Statements of “pure opinion” cannot

 constitute libel or defamation. Milkovich v. Lorain Journal, Co., 497 U.S. 1, 2 (1990);

 Turner, 879 F.3d at 1262; Rasmussen v. Collier Cty. Publ’g Co., 946 So. 2d 567, 571 (Fla.
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 2d DCA 2006). Whether a statement is an actionable fact or a non-actionable opinion

 is a question of law and will turn on “the statement in its totality” in the context of the

 entire publication, “accord[ing] weight to cautionary terms used by the person

 publishing the statement.” Rasmussen, 946 So. 2d at 571.

       “A false statement of fact is the sine qua non for recovery in a defamation action.”

 Byrd, 433 So. 2d at 595; see Turner, 879 F.3d at 1262-63 (“True statements, statements

 that are not readily capable of being proven false, and statements of pure opinion are

 protected from defamation actions by the First Amendment.”) “[S]tatements that

 cannot reasonably be interpreted as stating actual facts about an individual are

 protected.” Milkovich, 497 U.S. at 2. The key here, under both Eleventh Circuit and

 Supreme Court precedent, is whether the words at issue are “readily capable of being

 proven false.” Turner, 879 F.3d at 1262; see also Milkovich, 497 U.S. at 19 (“a statement

 on matters of public concern must be provable as false before there can be liability

 under state defamation law”). The answer is no.

       Columns are particularly appropriate, protected places to discuss opinions and

 employ figurative language. See Guilford Transp. Indus., Inc. v. Wilner, 760 A.2d 580,

 583 (D.D.C. 2000) (“The reasonable reader who peruses [a] column on the editorial

 or Op–Ed page is fully aware that the statements found there are not “hard” news . . .

 Readers expect that columnists will make strong statements, sometimes phrased in a

 polemical manner . . .”) (quoting Ollman v. Evans, 750 F.2d 970, 986 (D.D.C. 1984)).

 Indeed, the context in which the alleged defamation was published “is of critical

 import.” Forston, 434 F. Supp. 2d at 1381. In Forston, for instance, the court found that
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 a basketball column that appeared regularly in the newspaper’s sports section was “a

 vehicle through which basketball fans can read of [the author’s] thoughts and opinions

 on the NBA. Because the challenged statements were made through a medium that

 fosters debate on basketball issues,” reasonable readers would understand them to be

 opinion. Id.

       The Column at issue bears all the hallmarks of protected opinion on its face.

 Given its label as a “Column,” “a reasonable reader is more likely to regard its content

 as opinion and/or rhetorical hyperbole.” See id. The Column explores from all angles

 the controversies surrounding Reed, Reed’s positions, and public reaction to the

 repeated controversies. It then focuses on what columns should do: exploration of

 potential affects – here, whether Reed can ever overcome fans’ publicly (and often

 vehemently) expressed perception of Reed’s behavior as cheating. The Column

 questions whether the Bahamas Event had tarnished Reed’s reputation, casting a

 shadow of doubt on Reed’s every move during subsequent tournaments, despite

 Reed’s having paid for his actions (a two-stroke penalty). See Ex. A. The AP

 Defendants are entitled to the observation that “[t]he penalty, as it turns out, was worth

 more than two shots” because “[t]here is no greater punishment in golf than being

 stuck with a reputation for cheating.” Am. Compl. ¶ 107. They are likewise entitled to

 the opinion that after the California Event, where spectators again found Reed’s

 actions “questionable,” “[m]oving past this one will be almost impossible.” Ex. A.

 Simply put, the AP Defendants’ comments cannot be proven true or false and involve

 subject assessments of worth and impossibility. They constitute classic opinion.
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        Moreover, accurately reporting on others’ accusations and opinions about

 someone’s reputation – here, the heckling public’s – is not actionable. See Abbas v.

 Foreign Pol’y Grp., LLC, 975 F. Supp. 2d 1, 19 (D.D.C. 2013), aff’d, 783 F.3d 1328 (D.C.

 Cir. 2015) (the contention that an accusation was made “is not defamatory because it

 is not an assertion of false fact, or indeed, of any fact. [The journalist] is reporting on

 what people in the region have said to him, and does not otherwise take any position

 on what he has heard.”); cf. Jones v. Buzzfeed, 591 F. Supp. 3d 1127, 1142 (N.D. Ala.

 2022) (headline in online news article “How Accusing a Powerful Man of Rape Drove

 A College Student To Suicide” not actionable because “the fact in the headline are

 true: Rondini accused T.J. Bunn of rape”). Florida has long recognized that “a

 person’s general reputation is the opinion formed and expressed of him.” Hamilton v.

 State, 129 Fla. 219, 231 (1937). In other words, whether someone is viewed as having

 a good or bad reputation is, itself, an opinion. See Ralich v. U.S., 185 F.2d 784, 786 (8th

 Cir. 1950) (drawing the distinction that “[r]eputation is the opinion generally

 entertained of a man, while character is what he really is.”) As such, the opinion that

 Reed’s reputation has suffered – in the full context of the Column’s discussion of

 Reed’s behavior, the PGA’s statements and fan reactions – is not actionable as a matter

 of law.

    D. Reed Cannot Plausibly Allege Actual Malice

        Yet another independent ground for dismissal is Plaintiff’s complete inability to

 allege facts plausibly suggesting that any of the AP Defendants acted with actual

 malice. That failure infects each claim.
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        The First Amendment guarantees “a defendant may not be held liable for

 defaming a public figure about a matter of public concern unless he is shown to have

 ‘acted with actual malice.’” Berisha v. Lawson, 973 F.3d 1304, 1310 (11th Cir. 2020).

 Actual malice means that:

       defendants published a defamatory statement either with actual knowledge of
       its falsity or with a high degree of awareness of its probable falsity. It is a
       subjective test, which asks whether the publisher in fact entertained serious
       doubts as to the truth of his publication. Even an extreme departure from
       professional [publishing] standards does not necessarily rise to the level of
       actual malice.

 Id. at 1312; see Turner, 879 F.3d at 1273; Michel, 816 F.3d at 702-03.

       There is no serious dispute that Reed is a public figure who must plead actual

 malice. He describes himself as a “professional golfer” of “exceptional world-class

 golfing achievements,” who is one of LIV’s “most prominent athletes.” Am. Compl.

 ¶¶ 19, 20, 25. His position as a sports professional, alone, makes him a public figure.

 See Curtis Publishing v. Butts, 388 U.S. 130, 155 (1967). “This conclusion is consistent

 with a long line of cases, beginning with the Supreme Court’s opinion in Butts, which

 have found professional and collegiate athletes . . . to be public figures.” Barry v. Time,

 Inc., 584 F. Supp. 1110, 1119 (N.D. Cal. 1984) (collecting cases). The common thread

 in these decisions is that “one’s voluntary decision to pursue a career in sports, whether

 as an athlete or a coach, invites attention and comment regarding his job performance

 and thus constitutes an assumption of the risk of negative publicity.” Id. (internal

 quotations omitted); see also Turner, 879 F.3d at 1272. A professional golfer of Reed’s

 admitted stature is a public figure.


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       Reed has not – and cannot – plead the high standard of actual malice. Purely

 conclusory allegations of “recklessness” and the like, which amount to “threadbare

 recitals of the elements of a cause of action,” must be disregarded. Michel, 816 F.3d at

 703-04; see Turner, 879 F.3d at 1273 (affirming dismissal with prejudice of complaint

 alleging defendants “knowingly and recklessly” ignored truth where “the complaint

 does not set forth facts demonstrating that the Defendants acted in these ways.”).

 When a public figure “fails to allege facts sufficient to give rise to a reasonable

 inference that the defendants published the [allegedly defamatory statements] with

 actual malice,” the complaint must be dismissed. See Michel, 816 F.3d at 706 (affirming

 dismissal with prejudice for failure to plead actual malice); Turner, 879 F.3d at 1274

 (same).

       For instance, in Turner v. Wells, the Eleventh Circuit affirmed dismissal with

 prejudice of a professional football coach’s defamation claims because, inter alia, he

 had failed to properly allege actual malice. Id. Former Miami Dolphins coach James

 Turner was deemed a public figure because of his job. Id. at 1271. Despite having

 “allege[d] malice,” the court found that “most of his allegations are set forth in a

 conclusory manner.” Id. at 1273. Notwithstanding the coach’s claims “that defendants

 were aware of certain information that would have portrayed him in a better light, but

 purposefully decided to omit it,” the court explained the allegations fell short of actual

 malice:

       Ultimately, many of Coach Turner’s allegations center on the Defendants’
       failure to properly analyze certain information. But these allegations also fail
       to allege malice, because they do not give rise to a reasonable inference that the

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        Defendants knowingly or with reckless disregard published a false statement of
        fact. If anything, these allegations attack the reliability of the Defendants’
        opinions, and we have explained above why these types of claims fall outside
        the scope of a defamation suit.

 Id. at 1274 (emphasis in original).

        Reed similarly offers sweeping conclusory allegations that do not support a

 reasonable inference that the AP Defendants acted with actual malice. He imagines ill

 will: “Defendant Ferguson . . . exhibited animus against Mr. Reed, having with actual

 malice, defamed and written highly skewed and negative stories of and concerning

 Mr. Reed numerous times over the years under the umbrella of the Associated Press.”

 Am. Compl. ¶ 49. This ill will allegation falls exceedingly short of plausibly pleading

 actual malice. See Klayman v. City Pages, No. 5:13–cv–143–Oc–22PRL, 2015 WL

 1546173, at *13-14 (M.D. Fla. Apr. 3, 2015) (educating Reed’s counsel on the

 differences between actual malice and “ill will”). Further, given that the statements

 lack any defamatory meaning, are protected opinion, or otherwise consist of

 undisputed and verified facts, the AP Defendants, like the Turner defendants, could

 not have published them with actual malice, as a matter of law.

 III.   THE FAILED TORTIOUS INTERFERENCE CLAIMS

        Regardless of whether this Court applies New York, Texas, or Florida law,

 Plaintiff’s twin claims for tortious interference are barred because they are based on

 the same alleged facts and injuries giving rise to the defamation claims. See, e.g., Tymar

 Distrib. LLC v. Mitchell Grp. USA, LLC, 558 F. Supp. 3d 1275, 1286-88 (S.D. Fla. 2021).

 In Florida, “a single publication gives rise to a single cause of action.” Samara v. Juice


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 Plus+ Co., LLC, No. 6:20-cv-520-Orl-31EJK, 2020 WL 13389215, at *5 (M.D. Fla.

 Sept. 9, 2020) (quoting Callaway Land & Cattle Co. v. Banyon Lakes C. Corp., 831 So. 2d

 204, 208 (Fla. 4th DCA 2002)). The rule “prohibits defamation claims from being re-

 cast as additional, separate torts,” if all the claims arise from the same publication.

 Kinsman v. Winston, No: 6:15-cv-696-Orl-22GJK, 2015 WL 12839267, at *5 (M.D. Fla.

 Sept. 15, 2015). As the Florida Supreme Court has explained, a plaintiff is not

 permitted to make an end-run around a valid defense to defamation by “renaming the

 cause of action and pleading the same facts” as those alleged in support of a

 defamation claim. Fridovich v. Fridovich, 598 So. 2d 65, 69 (Fla. 1992); see also Orlando

 Sports Stadium, Inc. v. Sentinel Star Co., 316 So. 2d 607, 609 (Fla. 4th DCA 1975) (a

 plaintiff cannot skirt the strict requirements of defamation “by the simple expedient of

 redescribing the libel action to fit a different category of intentional wrong”). Rather

 than being guided by the label a plaintiff puts on his claims, Florida courts “look for

 the reality, and the essence of the action and not its mere name.” Orlando Sports

 Stadium, Inc., 316 So. 2d at 609 (quotations omitted).

       Federal courts have also acknowledged that extraneous tort claims rooted in

 challenged statements are barred regardless of whether the defamation claim fails.

 Tobinick v. Novella, No. 9:14-CV-80781-ROSENBERG/BRAN, 2015 WL 328236, at

 *11 n.17 (S.D. Fla. Jan. 23, 2015) (citing Klayman v. Judicial Watch, Inc., 22 F. Supp.

 3d 1240, 1256 (S.D. Fla. 2014) (in case brought by Reed’s counsel, court dismissed

 tortious interference and intentional infliction of emotional distress claims “based on

 analogous underlying facts. . . intended to compensate for the same alleged harm” as
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 his defamation claims)); see also Fridovich, 598 So. 2d at 70 (“In short, regardless of

 privilege, a plaintiff cannot transform a defamation action into a claim for intentional

 infliction of emotional distress simply by characterizing the allegedly defamatory

 statements as ‘outrageous’”). In fact, the single action rule bars such claims even when

 no defamation claim has been asserted, if the wrong stems from allegedly defamatory

 statements. Gilliard v. New York Times Co., No. GC-01-59, 2001 WL 1147256 (Fla. Cir.

 Ct. May 22, 2001) (interference, conspiracy, negligence, and extortion claims barred

 even though no defamation claim was alleged because the wrong complained of was

 based on the publication of allegedly defamatory statements), aff’d, 826 So. 2d 296

 (Fla. 2d DCA 2002). If the claim is premised upon allegedly false and defamatory

 speech, it cannot masquerade as another tort. Orlando Sports Stadium, 316 So. 2d at

 609.

        New York and Texas law demand the same. See Kesner v. Dow Jones & Co., Inc.,

 515 F. Supp. 3d 149, 189-90, n. 13 (S.D.N.Y. 2021) (noting that “New York and

 Florida law both yield the same result” because “under New York law, claims

 sounding in tort are construed as defamation claims, not only where those causes of

 action seek damages only for injury to reputation, but also where the entire injury

 complained of by plaintiff flows from the effect on his reputation.”) (internal

 quotations omitted); Hamad v. Ctr. for Jewish Cmty. Studies, 265 Fed. Appx. 414, 417

 (5th Cir. 2008) (under Texas law, plaintiff “cannot avoid the one-year statute of

 limitation applicable to defamation claims by simply alleging additional causes of

 action that are subject to a two-year statute of limitations,” where “[t]he primary focus
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 of [plaintiff’s] claims is the damage to his personal reputation.”).

       Here, Plaintiff’s tortious interference claims are grounded in the same

 publications underlying the six failed defamation counts. See Am. Compl. ¶¶ 301, 331

 (alleging that Plaintiff’s tortious interference claims against the AP Defendants are

 based on their alleged “spreading [of] lies of and concerning Mr. Reed in order to

 destroy his reputation”). Because the counts for tortious interference are nothing more

 than re-labeled defamation claims, they violate the single cause of action rule and must

 be dismissed. See Klayman, 22 F. Supp. 3d at 1256.

                                     CONCLUSION

       Florida law recognizes that cases involving First Amendment rights are

 particularly suited for early-stage disposition. See Stewart v. Sun Sentinel Co., 695 So.

 2d 360, 363 (Fla. 4th DCA 1997) (“pretrial dispositions are ‘especially appropriate’

 because of the chilling effect these cases have on freedom of speech”) (quoting Karp v.

 Miami Herald Publ’g Co., 359 So. 2d 580, 581 (Fla. 3d DCA 1978)). Dismissals are often

 granted in favor of publishers in cases like this one where the cause of action is time-

 barred and the publications otherwise involve matters of opinion that do not convey a

 defamatory meaning. See, e.g., Berenato v. Tankel, No. 3:10–cv–979–J–32MCR, 2012

 WL 473933, at *1-2 (M.D. Fla. Feb. 14, 2012) (dismissing slander claim because

 statements not defamatory).

       The Amended Complaint fails to state a claim against the AP Defendants as a

 matter of law and should be dismissed with prejudice under Fed. R. Civ. P. 12(b)(6).



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                      LOCAL RULE 3.01(g) CERTIFICATION

       Undersigned counsel has contacted Plaintiff’s counsel by email with respect to

 the relief sought herein. Plaintiff’s counsel opposes the relief requested.

 Dated: February 27, 2023.
                                          Respectfully submitted,

                                          THOMAS & LoCICERO PL


                                          /s/ Carol Jean LoCicero
                                          Carol Jean LoCicero (FBN 603030)
                                          Linda R. Norbut (FBN 1011401)
                                          601 South Boulevard
                                          Tampa, FL 33606
                                          Telephone: (813) 984-3060
                                          Facsimile: (813) 984-3070
                                          clocicero@tlolawfirm.com
                                          lnorbut@tlolawfirm.com

                                          Attorneys for the AP Defendants




                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 27th day of February, I electronically filed

 the foregoing document with the Clerk of Court using the CM/ECF system. I also

 certify that the foregoing document is being served this date on all counsel of record

 via transmission of Notices of Electronic Filing generated by the CM/ECF system to

 the following counsel of record:




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 Larry Elliot Klayman                        Laura Handman
 7050 W. Palmetto Park Rd                    DAVIS WRIGHT TREMAINE LLP
 Boca Raton, FL 33433                        1919 Pennsylvania Ave. NW, Ste. 800
 leklayman@gmail.com                         Washington, D.C. 20006-3401
                                             laurahandman@dwt.com

 Jeremy A. Chase
 Jesse Feitel
 DAVIS WRIGHT TREMAINE LLP
 1251 Avenue of the Americas, 21st FL
 New York, NY 10020-1104
 jeremychase@dwt.com
 jessefeitel@dwt.com


                                             /s/ Carol Jean LoCicero
                                             Attorney




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